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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ) Criminal No. = 1:21-CR-393 (DNH)
v. Conditional Plea Agreement
CHRISTOPHER PENCE,
Defendant. )

The United States of America, by and through its counsel of record, the United States
Attorney for the Northern District of New York, and defendant CHRISTOPHER PENCE
(hereinafter “the defendant”), by and through the defendant’s counsel of record, hereby enter into
the following plea agreement pursuant to Rule 11(a)(2) of the Federal Rules of Criminal
Procedure:

1) The Defendant’s Obligations:

a) Guilty Plea: The defendant will change the defendant’s previously-entered plea of “not
guilty” and plead guilty to Count One of the indictment in Case No. 1:21-CR-393 (DNH)
charging use of a facility of interstate commerce in connection with murder-for-hire, in
violation of 18 U.S.C. § 1958(a).

b) Special Assessment: The defendant will pay an assessment of $100 per count of
conviction pursuant to 18 U.S.C. § 3013. The defendant agrees to deliver a check or money
order to the Clerk of the Court in the amount of $100, payable to the U.S. District Court,
at the time of sentencing.

c) Compliance with Other Terms of Agreement: The defendant will comply in a timely

manner with all of the terms of this plea agreement.
2)

b)

3)

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The Government’s Obligations:

Non-prosecution for other offenses: For so long as the defendant’s guilty plea and the
sentence remain in effect, the government will not seek other federal criminal charges
against the defendant based on conduct described in the indictment in Case No. 1:21-CR-
393 (DNH) and/or in the paragraph of this agreement entitled “Factual Basis for Guilty
Plea,” occurring before the date on which the defendant signs this agreement. This
agreement does not prevent the government from seeking charges based on other conduct.
Compliance with Other Terms of Agreement: The government will comply in a timely
manner with all of the terms of this plea agreement.

Potential Maximum Penalties: The defendant understands that the Court can impose the

following maximum penalties for the offense to which the defendant agrees to plead guilty and

may be required to impose mandatory minimum terms of imprisonment, all as set out below:

a)
b)

c)

d)

Maximum term of imprisonment: 10 years, pursuant to 18 U.S.C. § 1958(a).
Maximum fine: $250,000, pursuant to 18 U.S.C. § 3571.

Supervised release term: In addition to imposing any other penalty, the sentencing court
may require the defendant to serve a term of supervised release of up to 3 years, to begin
after imprisonment. See 18 U.S.C. § 3583. A violation of the conditions of supervised
release during that time period may result in the defendant being sentenced to an additional
term of imprisonment of up to 2 years. id.

Other adverse consequences: Other adverse consequences may result from the

defendant’s guilty plea as further described in paragraph F below.
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4) Elements of Offense: The defendant understands that the following are the elements of
the offense to which the defendant agrees to plead guilty. The defendant admits that the
defendant’s conduct satisfies each and every one of these elements.
a) First, that the defendant used an interstate facility;
b) Second, that this use of an interstate facility was done with the intent that a murder be
committed in violation of the laws of any State or the United States; and
c) Third, that the murder in question was intended to be committed as consideration for the

receipt of anything of value.

5) Factual Basis for Guilty Plea: The defendant admits the following facts, that those facts
demonstrate the defendant’s guilt for the offense to which the defendant is pleading guilty, and
that there are no facts establishing a viable defense to that offense:

a) Between July 16 and August 9, 2021, the defendant used a computer connected to the
internet at his home in Cedar City, Utah, and The Onion Router (TOR) to access a website
on the Darknet dedicated to arranging contract killings. Through the website, the defendant
arranged for the murder of C.C. and F.C., both residents of Hoosick Falls, New York, in
exchange for approximately $16,000 worth of Bitcoin.

b) The defendant provided a website administrator with the address, names, and photographs
of the intended victims. He also instructed the administrator to make the murder look like
an accident or botched robbery, and requested that care be taken not to harm any of the
children in the care of the victims.

c) Between July 26 and July 29, 2021, the defendant paid the website administrator

approximately $16,000 in Bitcoin through four payments from a cryptocurrency wallet and
6)

d)

a)

b)

d)

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exchange linked to the defendant. However, no attempt was made on the lives of the
intended victims.

On October 27, 2021, the Federal Bureau of Investigation executed a search warrant on the
defendant’s home in Cedar City, Utah. While the warrant was being executed, the
defendant admitted to soliciting the murder of C.C. and F.C. through the Darknet website
and to paying $16,000 in Bitcoin for the murders.

Sentencing Stipulations:

The parties agree that the applicable base offense level is 32, pursuant to U.S.S.G §
2E1.4(a)(1).

The defendant contends that the offense level should be decreased by two levels, pursuant
to U.S.S.G § 4C1.1, because the defendant is a “zero-point offender” who meets the
enumerated criteria. The government contends that the defendant does not meet the criteria
set forth in § 4C1.1(3).

The government will recommend a 2-level downward adjustment to the applicable federal
sentencing guidelines offense level pursuant to U.S.S.G. §3E1.1(a) if, (i) through the time
of sentencing, the government is convinced that the defendant has demonstrated
“acceptance of responsibility” for the offense(s) to which the defendant is pleading guilty
and all relevant conduct, as defined in U.S.S.G. § 1B1.3; and (ii) the government does not
determine that the defendant, after signing this agreement, committed any other federal,
state, or local crimes, or engaged in conduct that constitutes “obstruction of justice,” as
defined in U.S.S.G. §3C1.1.

The government will move for a 1-level downward adjustment to the applicable federal

sentencing guidelines offense level pursuant to U.S.S.G. §3E1.1(b) if the government is
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convinced that the defendant has accepted responsibility within the meaning of U.S.S.G.
§3E1.1(a) and further assisted authorities in the investigation or prosecution of the
defendant’s own misconduct by timely notifying authorities of the defendant’s intention to
enter a plea of guilty, thereby permitting the government to avoid preparing for trial and
permitting the government and the court to allocate their resources efficiently, and the
defendant otherwise qualifies for such adjustment by having a combined offense level of
16 or more before receipt of any acceptance of responsibility adjustment under U.S.S.G.
§3E1.1(a).
7) Waiver of Rights to Appeal and Collateral Attack: The defendant waives (gives up) any
and all rights, including those conferred by 18 U.S.C. § 3742 and/or 28 U.S.C. §§ 2241 and 2255,
to appeal and/or to collaterally attack the following (except that the defendant does not waive the
right to raise a claim based on alleged ineffective assistance of counsel):
a) The conviction resulting from the defendant’s guilty plea;
b) Any claim that the statute to which the defendant is pleading guilty is unconstitutional;
c) Any claim that the admitted conduct does not fall within the scope of the statute;
d) Any sentence to a term of imprisonment of 108 months or less;
e) Any sentence to a fine within the maximum permitted by law;
f) Any sentence to a term of supervised release within the maximum permitted by law;
g) Any order of forfeiture or restitution imposed by the Court that is consistent with governing
law and is not contrary to the terms of this agreement.
Nothing in this appeal waiver is meant to be or should be construed as a representation of or

agreement concerning the appropriate sentence in this case.
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Pursuant to Rule 11(a)(2) of the Federal Rules of Criminal Procedure, the parties agree that
with the consent of the Court, the defendant reserves the right to have an appellate court review
the determinations adverse to the defendant in the Court’s Memorandum-Decision and Order
issued on October 18, 2023 (Dkt. 52), on the following issues raised in the defendant’s Motion to
Suppress Statements filed on December 20, 2022 (Dkt. 21): whether the defendant’s statements to
law enforcement on October 27, 2021, should be suppressed because (i) the defendant was in
custody when interviewed by two Special Agents with the Federal Bureau of Investigation in a
vehicle outside his residence, and (ii) the defendant was subject to an illegal and deliberate two-
step interrogation technique. If the defendant prevails on that appeal, the defendant will be

permitted to withdraw the guilty plea without penalty.
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A. Right to Counsel: The defendant has the right to be represented by counsel—and if necessary
have the court appoint counsel—at trial and at every other stage of the proceeding. Defense
counsel has advised the defendant of nature of the charges to which the defendant is agreeing
to plead guilty and the range of possible sentences.

B. Waiver of Trial-Related Rights: The defendant has the following additional constitutional
rights in connection with the charges in this case: (i) to be presumed innocent until proven
guilty beyond a reasonable doubt; (ii) to plead not guilty; (iii) to trial by jury; (iv) to confront,
cross-examine, and compel the attendance of witnesses at trial; (v) to present defense evidence;
and (vi) to remain silent and be protected against compelled self-incrimination. The defendant
understands that by pleading guilty, the defendant waives (gives up) these rights.

C. Court Not Bound by Plea Agreement: This plea agreement is made pursuant to Rule

11(c)(1)(A) of the Federal Rules of Criminal Procedure. The Court is neither a party to, nor
bound by this Plea Agreement. The Court may accept or reject this Plea Agreement or defer a
decision until it has considered the Presentence Investigation Report prepared by the United
States Probation Office. If the Court rejects the provisions of this agreement permitting the
defendant to plead guilty to certain charges in satisfaction of other charges, the Court will
permit the defendant to withdraw the plea of guilty before sentencing, pursuant to Fed. R.
Crim. P. 11(c)(5) & (d).

D. Court Not Bound by Agreed-Upon Recommendations, Stipulations, and Requests: If this
agreement contains any provisions under Fed. R. Crim. P. 11(c)(1)(B) by which the
government agrees to recommend, stipulates, or agrees not to oppose the defendant's request,

that a particular sentence or sentencing range is appropriate or that a particular provision of the
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federal sentencing guidelines, or a policy statement, or sentencing factor does or does not
apply, such a recommendation, stipulation, or request does not bind the Court, which may
make independent factual findings by a preponderance of the evidence and may reject such
recommendations, requests, and stipulations between the parties. If the Court rejects one or
more recommendations, stipulations, or requests, the defendant is not entitled to withdraw the
defendant’s plea of guilty and is not released from the obligations described in this agreement.

Under such circumstances, the government reserves the right to support and defend, in

connection with any post-sentencing proceedings, any decision the Court may make with

regard to the defendant's sentence, whether or not such decision is consistent with the
government’s recommendations, stipulations, or requests set out in this agreement.
E. Sentencing:

a. Maximum terms of imprisonment: The defendant understands that the Court has
discretion to impose a sentence within the statutory maximum sentence(s) set out in this
agreement. If the defendant is pleading guilty to multiple charges, the Court may be
required by law to have the sentences of imprisonment on the convictions resulting from
those charges run consecutively to each other. Otherwise, the Court has discretion to have
sentences of imprisonment run concurrently or consecutively. See 18 U.S.C. § 3584.

b. Mandatory minimum terms of imprisonment: If specified in this agreement, the
conviction on one or more charges to which the defendant has agreed to plead guilty may
require imposition of a mandatory minimum term of imprisonment. In such cases, the
court must impose a term of imprisonment no less than the required mandatory minimum
term unless an exception to that requirement applies. Such exception may be dependent

on a motion by the government.
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c. Section 851 Enhancements: The defendant understands that if the government has filed

an information against the defendant as provided 21 U.S.C. § 851, alleging that the

defendant has one or more final convictions for a felony drug offense, and, as part of this

agreement, the defendant has admitted and/or affirmed that the defendant was so convicted,

then, by pleading guilty, the defendant will lose the right to attack any sentence the court

imposes by challenging any such prior conviction.

d. Sentencing guidelines:

i.

ii.

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The actual sentence to be imposed upon the defendant is within the discretion of the
sentencing Court, subject to the statutory maximum and mandatory minimum penalties,
as described above, and the provisions of the Sentencing Reform Act and the United
States Sentencing Guidelines promulgated thereunder. While the Court is not bound
to impose a sentence within the applicable sentencing guidelines range, it must take
into account the sentencing guidelines, along with the other factors set forth in 18
U.S.C. § 3553(a).

Any estimate of the defendant’s offense level, criminal history category, and sentencing
guidelines range provided before sentencing is preliminary and is not binding on the
parties to this agreement, the Probation Office, or the Court. Until the Probation Office
has fully investigated the defendant’s criminal history, it is not possible to predict with
certainty the defendant’s criminal history category and, in some cases, the defendant’s
offense level.

Under certain circumstances, the defendant’s criminal history may affect the
defendant’s offense level under the federal sentencing guidelines. If the presentence

investigation reveals that the defendant’s criminal history may support an offense level
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different than an offense level stipulated in this agreement, the parties are not bound by
any such stipulation as to the defendant’s offense level and may advocate with respect
to how the defendant’s criminal history affects the offense level.

e. Factual findings: The defendant understands that the sentencing Court may make factual
findings with respect to any and all sentencing factors and issues, including those
referenced in the United States Sentencing Guidelines, whether or not such factors or issues
have been admitted by the defendant or stipulated by the parties. In making those findings
by a preponderance of the evidence, the Court may consider any reliable evidence,
including hearsay. The Defendant understands that the sentence imposed may be
determined based upon such judicial fact-finding.

f. Use of the Defendant’s Statements: The defendant understands that the sentencing court
may consider any statement that the defendant has made or makes in this Plea Agreement,
during the guilty plea, to the Probation Office, and at sentencing when imposing sentence.
In addition the government may be able to use the defendant’s statements in this agreement
and at the guilty plea and at sentencing in any criminal, civil, or administrative proceeding.
For example, if the defendant fails to enter a guilty plea (as required by this agreement) or
the defendant’s guilty plea is later withdrawn or vacated for any reason other than the
Court’s rejection of this Plea Agreement under Fed. R. Crim. P. 11(c)(5), or the defendant’s
withdrawal pursuant to Rule 11(a)(2), the government may introduce the defendant’s
statements into evidence in any prosecution. If, however, the Court rejects this Plea
Agreement under Fed. R. Crim. P. 11(c)(5), and the defendant withdraws the guilty plea
pursuant to Fed. R. Crim. P. 11(d)(2)(A), the government will not be permitted to use any

of the defendant’s statements in this Plea Agreement. To the extent that Rule 11(f) of the

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Federal Rules of Criminal Procedure and/or Rule 410 of the Federal Rules of Evidence are
inconsistent with this paragraph, the defendant waives (gives up) any protections under
those rules.

Government’s Discretion to Recommend a Sentence: Unless a stipulation in this
agreement explicitly limits the government’s discretion with respect to its
recommendations at sentencing, this agreement does not prevent the government from
urging the sentencing Court to find that a particular offense level, criminal history category,
ground for departure, or guidelines range applies; from recommending a specific sentence
within the applicable guidelines range as determined by the Court or as urged by the
government; or, if the government deems appropriate, recommending that the Court
impose a sentence above the applicable guidelines range.

Sentencing-Related Information: The government has the right to advise the sentencing
Court and the Probation Office of any information, in aggravation or mitigation of
sentencing, whether or not encompassed within the count(s) to which the defendant has
agreed to plead guilty, subject only to the limitation described in U.S.S.G. §1B1.8. No
stipulation in this plea agreement limits the obligations of both parties to ensure that the
sentencing Court has all information pertinent to its determination of an appropriate
sentence. The parties may provide any factual information relevant to sentencing to the
Probation Office and/or to the Court, without limitation, before or after the completion of
the Presentence Investigation Report. The parties agree that the submission of such
information shall not be deemed “advocacy” in violation of any stipulation in this plea

agreement.

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i. Supervised Release Term and Conditions: If the defendant is placed on supervised
release, under some circumstances, including the defendant’s violation of one or more
supervised release conditions, the Court may extend the term of supervised release, and
may modify, reduce, or enlarge the conditions of such release.

F. Other Adverse Consequences: The following are some examples of the adverse

consequences of pleading guilty other than the sentence imposed by the Court, along with any

judicial order of forfeiture and/or restitution:

a. Conviction of a felony may result in the loss of civil rights, including, but not limited to,
the right to vote and the right to possess firearms.

b. Ifthe defendant is not a United States citizen, such conviction may result in deportation or
removal from the United States, may bar readmission to the United States if the defendant
leaves the country, and may result in a denial of a pending or future application for
citizenship. If the defendant is a naturalized United States citizen, such conviction may
result in denaturalization, followed by deportation or removal from the United States.
Under federal law, removal or deportation may be an almost certain consequence of a
conviction for a broad range of federal offenses, including, but not limited to, aggravated
felonies, as defined in 8 U.S.C. § 1101(a)(43), and crimes of moral turpitude, which
includes crimes involving fraud. Removal and other immigration consequences are the
subject of a separate proceeding. No one, including the defendant’s attorney and the Court,
can predict with certainty the effect of the conviction resulting from this agreement on the
defendant’s immigration status. The defendant understands this uncertainty and

nonetheless wishes to plead guilty regardless of any immigration consequences that the

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guilty plea may entail, even if the consequence is the defendant’s automatic removal from
the United States.

c. A felony conviction may adversely affect the defendant’s ability to hold certain
professional licenses and may impair the defendant’s ability to do business with federal,

state, and local governments or to receive benefits from such governments.

There may be other adverse consequences as well, some of them unforeseeable. It may be
difficult or impossible to predict all of the adverse consequences of the defendant’s guilty
plea. The defendant agrees that any resulting adverse consequences, whether or not
foreseen or foreseeable, will not provide a basis for withdrawing from the guilty plea
described in this agreement or otherwise challenging the resulting conviction and sentence.

G. Restitution: Independent of any agreement to pay restitution, and whether there is any such
agreement, the sentencing Court may be required to order that the defendant pay restitution to
any victim of the offense(s) of conviction under the Mandatory Victim Restitution Act, 18
U.S.C. § 3663A. In addition, the sentencing Court may have the authority to order that the
defendant pay restitution to any victim of the offense(s) of conviction pursuant to 18 U.S.C.
§§ 3663 & 3664. In any case involving a conviction for a sexual exploitation offense in chapter
110 of title 18 of the United States Code, the Court must order restitution for the full amount
of the victim's losses as determined by the court. The victim's losses include, but are not limited
to medical services related to physical, psychiatric, or psychological care; physical or
occupational therapy or rehabilitation; necessary transportation, temporary housing, and child

care expenses; lost income; attorney's fees and other costs; and any other losses suffered by

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the victim as a proximate result of the offense. The restitution payment will be in addition to

any other civil or criminal penalty authorized by law.

H. Forfeiture: If the defendant has agreed to forfeiture of assets, the defendant agrees to the

following terms and conditions:

a.

The defendant hereby forfeits, to the United States, all right, title, and interest of any nature
in any and all assets that are subject to forfeiture, including substitute assets, as set forth
above, whether those assets are in the possession or control of the defendant, a nominee,
or some other third party.

The defendant consents to the entry of an order of forfeiture of the assets described above.
The defendant is aware that pursuant to Rule 32.2(b)(4)(A) of the Federal Rules of Criminal
Procedure, a preliminary order of forfeiture becomes final as to a given defendant at
sentencing or at any time before sentencing if the defendant consents. The defendant
consents that the preliminary order of forfeiture in this case shall become final as to the
defendant before sentencing, as of the date the preliminary order of forfeiture is entered by
the Court. The defendant understands that the government, upon entry of the preliminary
order of forfeiture, will address any potential third party claims pursuant to Rule 32.2(c),
and seek to finalize forfeiture.

Forfeiture of the defendant’s assets will not satisfy all, or any portion of, a fine, restitution,
or other monetary penalty that the Court may impose upon the defendant in addition to
forfeiture. Satisfaction of all, or any portion of, any restitution, fine, or other penalty that
the Court may impose upon the defendant in addition to forfeiture will not satisfy all, or

any portion of, any forfeiture judgment ordered by the Court.

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In the event that any successful claim is made, by any third party, to the assets described
above, the defendant agrees to forfeit substitute assets equal in value to the assets
transferred to any such third party. The defendant agrees that forfeiture of substitute assets
shall not be deemed an alteration of the Defendant’s sentence.

The defendant agrees to cooperate with the United States by taking whatever steps are
necessary to pass clear title to the United States of any forfeitable assets, including but not
limited to, surrendering title; completing any documents or legal proceedings required to
transfer assets to the United States; and taking necessary steps to ensure that assets subject
to forfeiture are not sold, disbursed, expended, destroyed, damaged, hidden or otherwise
made unavailable for forfeiture or removed beyond the jurisdiction of the Court.

. The defendant waives the right to a jury trial on the forfeiture of assets. The defendant
waives all constitutional, legal, and equitable defenses to the forfeiture of assets, as
provided by this agreement, in any proceeding, including but not limited to any jeopardy
defense or claim of double jeopardy or any claim or defense under the Eighth Amendment
to the United States Constitution, including any claim of an excessive fine.

. The defendant acknowledges that the government may institute civil or administrative
proceedings against any or all of the defendant’s forfeitable assets, including, but not
limited to substitute assets and any forfeitable assets not identified by the defendant, and
agrees not to contest any such forfeiture proceedings.

The defendant represents and warrants that the defendant has no direct or indirect interest
in any property, real or personal, or other asset subject to forfeiture by virtue of this plea

agreement, other than those listed above.

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j. In the event the government determines that the defendant has breached any condition of
this plea agreement, none of the forfeited property shall be returned to the defendant, nor
shall the defendant assert any claim to the forfeited property. The defendant shall not
reacquire any forfeited property, directly or indirectly, through family members, nominees,
friends, or associates.

I. Determination of Financial Condition and Payment of Interest and Penalties:

a. In order to facilitate the collection of financial obligations to be imposed in connection
with this prosecution, the defendant agrees fully to disclose all assets in which the
defendant has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, nominee, or other third party.

b. The defendant will promptly submit a complete, accurate, and truthful financial statement
to the United States Attorney’s Office, in a form it provides and as it directs.

c. The defendant authorizes the United States Attorney’s Office to obtain a credit report on
the defendant in order to evaluate the defendant’s ability to satisfy any financial obligation
imposed by the Court.

d. Interest and penalties may accrue, as a matter of law, on any unpaid financial obligation
imposed as part of the defendant’s sentence, from as early as the date of sentencing.

J. Remedies for Breach:

a. Should the government determine that the defendant, after the date the defendant has
signed this plea agreement, (i) has committed any further crime or violated any condition
of release or supervision imposed by the Court (whether or not charged); (ii) has given
false, incomplete, or misleading testimony or information; or (iii) has moved to withdraw

the defendant’s guilty plea for reasons other than those described in this agreement or

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otherwise has breached any term or condition of this plea agreement or supplemental

agreements with the government, the government will have the right, in its sole discretion,

to void this agreement, in whole or in part. In the event of such breach, the defendant will

remain obligated to plead guilty and otherwise comply with the terms of this agreement

and will not be permitted to withdraw the defendant’s guilty plea under this agreement.

The defendant will be subject to prosecution for any federal criminal violation of which

the government has knowledge, including but not limited to charges that this Office has

agreed to dismiss or not to prosecute under this agreement.

. Ifthe defendant breaches this agreement, the government will have the following remedies,

among others, available to it:

i.

ii.

iii.

To bring prosecution for any federal criminal offenses dismissed or not prosecuted
under this agreement. The defendant waives (gives up) any defense or objection to the
commencement of any such prosecution that is not time-barred by the applicable statute
of limitations as of the date on which the defendant signed this plea agreement,
notwithstanding the expiration of the statute of limitations between the signing of the
agreement and the commencement of any such prosecution.

In connection with any such prosecution, any information, statement, and testimony
provided by the defendant, and all leads derived therefrom, may be used against the
defendant, without limitation and without regard to any rights the defendant may have
under Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410.

To utilize any information, statement, or testimony provided by the defendant in any

proceeding, including at sentencing, notwithstanding U.S.S.G. §1B1.8;

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iv. To advocate if, and how, any particular adjustment or specific offense characteristic
affects the applicable Sentencing Guidelines range without regard to any contrary
stipulations contained in this agreement;

vy. To refrain from making any sentencing-related motion favorable to the defendant
without regard to any provision in this agreement obligating the government to consider
making or make such motion upon fulfillment of certain conditions;

vi. To urge the sentencing Court to take the defendant’s breach into account when
imposing sentence;

vii. To recommend any sentence the government deems appropriate, even if such
recommendation is at odds with any stipulation in this agreement.

K. Limitations: This agreement is between the United States Attorney's Office for the Northern
District of New York and the defendant. References to “the government” in this agreement
refer only to that Office. This agreement does not bind any other federal, state, or local
prosecuting authorities. Furthermore, this agreement does not prohibit the United States, any
agency thereof, or any third party from initiating or prosecuting any civil or administrative
proceedings directly or indirectly involving the defendant, including, but not limited to,
proceedings by the Internal Revenue Service relating to potential civil tax liability, proceedings
relating to the forfeiture of assets, and proceedings by the Department of Homeland Security,
Bureau of Citizenship and Immigration Services relating to the immigration status of the
defendant.

L. Agreement Must be Signed; Modifications Must be Written or on the Record: This

agreement, to become effective, must be signed by all of the parties listed below. No promises,

agreements, terms, or conditions other than those set forth in this plea agreement will be

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effective unless memorialized in writing and signed by all parties or confirmed on the record
before the Court.

M. Agreement to Plead Guilty Voluntary: The defendant acknowledges reading each of the

provisions of this plea agreement with the assistance of counsel and understands its provisions.
The defendant further acknowledges that the defendant’s agreement to plead guilty is voluntary
and did not result from any force, threat, or promises (other than the promises in this plea

agreement and any written supplemental agreements or amendments).

CARLA B. FREEDMAN
United States Attorney

Lee L /2/¢/23

Emmet J. O’Hanlon Date
Assistant United States Attorney
Bar Roll No. 519779

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CHRISTOPHER PENCE Date
Defendant

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sq. Date
Attorney for Defendant

Bar Roll No.S/6OGLS’

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